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     (erroneously sued as Xiamen 35.com Internet Technology Co., Ltd.)
10

11
                                  UNITED STATES DISTRICT COURT
12                               NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
13
     FACEBOOK, INC., et al.,                         Case No. 3:19-cv-07071-SI
14
                   Plaintiffs,
15
                                                     DECLARATION OF KARL S.
16          v.                                       KRONENBERGER IN SUPPORT OF
                                                     DEFENDANT XIAMEN 35.COM
17   ONLINENIC INC., et al.,                         TECHNOLOGY CO., LTD.’S
                                                     ADMINISTRATIVE MOTION UNDER
18                 Defendants.                       LOCAL RULE 7-11 FOR
                                                     EVIDENTIARY HEARING AND TO
19
                                                     AUGMENT THE RECORD FOR THE
20                                                   REPORT AND RECOMMENDATION
                                                     FOR TERMINATING SANCTIONS
21                                                   AGAINST DEFENDANTS [D.E. 225]
22                                                   Related D.E. 229 Motion Hearing:
23                                                   Date: June 17, 2022
                                                     Time: 10:00 am
24                                                   Courtroom: #1, 17th Fl.

25                                                   Hon. Susan Illston
26

27

28
     Case No. 3:19-cv-07071-SI                         DECL ISO DEF’S ADMIN MTN FOR EVID.
                                                       HEARING & AUGMENTATION OF RECORD
      Case 3:19-cv-07071-SI       Document 238-1        Filed 05/26/22     Page 2 of 31



1           I, Karl S. Kronenberger, do hereby declare:

2           1.     I am an attorney admitted to practice law in the State of California and

3    before this Court. I am a partner at the law firm of Kronenberger Rosenfeld, LLP, counsel

4    of record for Defendant Xiamen 35.com Technology Co., Ltd. (“35.CN”). Unless otherwise

5    stated, I have personal knowledge of the facts set forth in this Declaration.

6           2.     On April 12, 2022, Plaintiffs produced documents to 35.CN that were

7    previously produced to other Defendants before 35.CN was named as a Defendant.

8           3.     It has recently come to my attention that Plaintiffs’ document productions
9    included “notices” of infringement to third parties instead of to Defendants ID Shield or

10   OnlineNIC. True and correct copies of FB0019250 and FB0019242 (redacted due to

11   Plaintiffs’ Confidentiality designations) are attached as Exhibit A.

12          4.     Where notices were sent, Defendants OnlineNIC and ID Shield did indeed

13   respond to multiple notices, asking that AppDetex verify its identity (pursuant to privacy

14   laws) prior to the release of personal information of the registrants. True and correct

15   copies of such requests to AppDetex are attached as Exhibit B.

16          5.     I issued a subpoena to AppDetex for documents concerning the notices to

17   Defendants and domain names at issue, which was met by objections by AppDetex and

18   a motion to quash by Plaintiffs (through different counsel in Idaho district court).

19          6.     I notified Plaintiffs that our office could not locate the alleged notices for ten

20   of the thirty-five domain names in Plaintiffs’ document productions. In particular, our office
21   was unable to find any related notice for six of these domain names, found a notice to a

22   third party for two domain names (as outlined above), and found a notice that did not

23   request any identifying information under the RAA for two domain names. As such, I

24   requested that Plaintiffs confirm the Bates numbers for the notices for the thirty-five

25   domain names. A true and correct copy of the forgoing email correspondence is attached

26   as Exhibit C. I reiterated this request on a May 25, 2022 Zoom call with Plaintiffs’ counsel.

27   Plaintiffs have not provided the requested documentation.

28          7.     AppDetex has apparently sent thousands of similar “notices” to various
     Case No. 3:19-cv-07071-SI                              DECL ISO DEF’S ADMIN MTN FOR EVID.
                                                   1        HEARING & AUGMENTATION OF RECORD
      Case 3:19-cv-07071-SI       Document 238-1       Filed 05/26/22    Page 3 of 31



1    registrars, which have been met with objections, as noted in ICANN communication to

2    AppDetex. A true and correct copy of the foregoing ICANN communication, plus a copy

3    of the two registrar responses linked in the ICANN letter, is attached as Exhibit D.

4    Specifically, in December 2018, ICANN wrote to AppDetex, stating AppDetex had

5    indicated it sent in excess of 9,000 notices for non-public registration data with only a 3%

6    full response rate; ICANN also linked to two registrar responses to AppDetex, which are

7    attached to the Exhibit D. For example, Blacknight responded to AppDetex, stating:

8           “incredibly frustrating for us to see recent communications from AppDetex
9           to ICANN which are obviously an attempt to undermine the ‘temp spec’
            [regarding GDPR privacy] . . . we cannot simply breach the trust placed in
10          us by our clients . . . In order for us to access the legitimacy of any request
            for data we have a set of what we consider reasonable requirements . . .
11          While we have responded to all of their requests for data to date we have
            not received a single acknowledgment or reply . . . We believe, therefore,
12          that the requests for data are not sincere but are designed to create a
13          particular narrative to reinforce AppDetex and Facebook’s particular views.”
            Likewise, Tucows responded to AppDetex’s requests, outlining:
14

15          [In response to requests for registrant data] “we responded with our
            requirements template to all of them and had not received a single reply.
16          The claim in their letter of contracted party failures to respond in a
            reasonable timeframe is outrageous as they have failed to further their own
17          requests for months. This alone should be reasonable grounds for us to ban
            AppDetex permanently as a vexatious reporter, a course of action we’re
18
            considering. Digging into some of these requests for Registrant details
19          reveals an alarming lack of care . . . Some requests for Registrant data
            also veer into dangerous territory [regarding fair use and free speech] . .
20          . clear lack of human-review and due care presented by the requests we
            have received from AppDetex . . . AppDetex has yet to demonstrate that
21          they are compliant with the GDPR . . . the concern is not for the trademarks
            of Facebook, or any other customer, but for generating baseless noise and
22
            attempting to shift public and government perception . . .” (bold added).
23
            I declare under penalty of perjury under the laws of the United States of America
24
     that the foregoing is true and correct and that this Declaration was executed on May 26,
25
     2022, in San Francisco, California.
26
                                                               s/Karl S. Kronenberger
27                                                              Karl S. Kronenberger

28
     Case No. 3:19-cv-07071-SI                            DECL ISO DEF’S ADMIN MTN FOR EVID.
                                                  2       HEARING & AUGMENTATION OF RECORD
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                        Exhibit A
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                        Exhibit B
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Hello,

This is Ben from OnlineNIC.

We try to contact your end for many times, is there anyone can response and discuss
with me on this issue. So that we can help you further.

Best Regards,


Ben Barnes
OnlineNIC Customer Support
E-mail：ben@onlinenic.com
Website: www.onlinenic.com

From: whoisrequest
Date: 2018-08-14 21:46
To: abuse
Subject: Nonpublic registrant data for BUYINSTAGRAMFANS.COM [CASE: zHtrhxe2gT]
To OnlineNIC, Inc.
I write on behalf of Facebook [and its affiliated companies] to request a single domain
registration record as identified below.1 We have become aware that the below-
identified domain name misuses one or more of the following trademarks held by
Facebook [and/or its affiliated companies]:
                 US Trademark Reg.        EU Trademark
Trademark
                 #                        Reg. #
OCULUS           4863585                  012983854
RIFT             1A                       EUTM
                 4891157
OCULUS                                    012983854
                 1A
                 4424543                  012983854
OCULUS VR
                 1A                       EUTM
                 4146057                  012111746
INSTAGRAM
                 1A                       EUTM
                 4170675                  012111746
INSTAGRAM
                 1A                       EUTM
                 4659777                  8981383
FB
                 1A                       EUTM
                 4643774                  005722392
FACEBOOK
                 1A                       EUTM
The fame and recognition of the above marks entitle Facebook to broad legal
protection globally.
In order to investigate and prevent intellectual property infringement and contact
infringing parties and relevant service providers, we request information regarding the
following domain name:

     buyinstagramfans.com




                                                                                            35CN001108
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We seek the following information consistent with the principles enumerated under
Section 4 of the Temporary Specification for gTLD Registration Data adopted by
ICANN on May 18, 2018:

      1. Registrant name, address, phone, fax number, and email address
      2. Technical contact name, address, phone, fax number, and email address
      3. Administrative name, address, phone, fax number, and email address

To the extent that the requested information is believed to be subject to the European
Union’s General Data Protection Regulation (Commission Regulation (EU)
2016/679), we submit this request pursuant to Article 6(1)(f) of that Regulation. The
information requested is necessary for the purposes of our legitimate interests,
namely (1) identifying the registered holder of a domain name and their contact
information to investigate and respond to potential trademark infringement and (2)
enforcing legal claims.
We seek this information by Thu Aug 16 13:46:14 UTC 2018 in order to facilitate
immediate legal action against the registrant. Please provide the requested
information by responding to this email. NOTE: Please do not change the CASE in
the subject line.
Facebook (transmitted by AppDetex Managed Services)
1. [Facebook [and its affiliated companies] reserves all of its legal rights in relation to this request and by making this request with
respect to the domain name referenced above does not waive any and all rights it may have to request additional information
regarding other domain names registered by the registrant or the contacts reflected in the WHOIS record.]




                                                                                                                                           35CN001109
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Hello,

Could you please sent the request e-mail via the e-mail which bulit base on the
domain name facebook.com such as info@facebook.com so that we can help you
further.

THX


Ben Barnes
OnlineNIC Customer Support
E-mail：ben@onlinenic.com
Website: www.onlinenic.com

From: facebook
Date: 2018-07-17 21:19
To: abuse
Subject: Nonpublic registrant data for MYFACEBOOKTOP10.COM [CASE: W5Gv6F6IGm]
To OnlineNIC, Inc.
I write on behalf of the Facebook family of companies to request domain registration
records as described below. We have become aware that the below-listed domain
names misuse one or more of the following trademarks:
              US Trademark Reg.         EU Trademark
Trademark
              #                         Reg. # Registry
                                        005722392
Facebook       4643774
                                        EUTM
                                        8981383
FB             4659777
                                        EUTM
                                        012111746
Instagram      4170675 & 4146057
                                        EUTM
               4424543, 4647400,        12983854
Oculus
               4891157 & 4863585        EUTM
                                        009986514
Whatsapp       4083272 & 3939463
                                        EUTM
The fame and recognition of these marks entitles Facebook to broad legal protection
globally.
In order to investigate and prevent intellectual property infringement and contact
infringing parties and relevant service providers, we request information regarding the
following domain names:

    myfacebooktop10.com

We seek the following information consistent with the principles enumerated under
Section 4 of the Temporary Specification for gTLD Registration Data adopted by
ICANN on May 18, 2018:

   1. Registrant name, address, phone, fax number, and email address
   2. Technical contact name, address, phone, fax number, and email address
   3. Administrative name, address, phone, fax number, and email address




                                                                                          35CN001110
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       In addition to the full non-public WHOIS record from the domain names
       specified above, we also seek:

   4. A list of any domain names registered by or through you that share any of the
       same WHOIS contacts 1), 2) and 3) with the domain names listed above.
   5. All information in requests 1, 2, and 3 for all domains provided in response to
       request 4

To the extent that the requested information is believed to be subject to the European
Union’s General Data Protection Regulation (Commission Regulation (EU)
2016/679), we submit this request pursuant to Article 6(1)(f) of that Regulation. The
information requested is necessary for the purposes of our legitimate interests,
namely (1) identifying the registered holder of a domain name and their contact
information to investigate and respond to potential trademark infringement and (2)
enforcing legal claims.
We seek this information by Thu Jul 19 13:19:33 UTC 2018 in order to facilitate legal
action against the registrant. Please provide the requested information by responding
to this email. NOTE: Do not change the CASE in the subject line.
Facebook (transmitted by AppDetex Managed Services)




                                                                                         35CN001111
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Hello Sir,

This is Ben from OnlineNIC.

We saw many e-mails from your end. But can you please response to us and offere
the relevant document to prove that you write on behalf of Facebook.

Best Regards,




Ben Barnes
OnlineNIC Customer Support
E-mail：ben@onlinenic.com
Website: www.onlinenic.com

From: whoisrequest
Date: 2018-10-16 12:19
To: abuse
Subject: Nonpublic registrant data for SHOPINSTAGRAMFOLLOWERS.COM (2nd Notice) [CASE:
Y4L7pB1mvj]
To OnlineNIC, Inc.
I write on behalf of Facebook [and its affiliated companies] to request a single domain
registration record as identified below.1 We have become aware that the below-
identified domain name misuses one or more of the following trademarks held by
Facebook [and/or its affiliated companies]:


          US Trademark Reg.               EU Trademark
Trademark
          #                               Reg. #
          4083272                         009986514
WHATSAPP
          1A                              EUTM
          3939463                         0099865149
WHATSAPP
          1A                              EUTM
OCULUS    4863585                         012983854
RIFT      1A                              EUTM
          4891157
OCULUS                                    012983854
          1A
          4424543                         012983854
OCULUS VR
          1A                              EUTM
          4146057                         012111746
INSTAGRAM
          1A                              EUTM
          4170675                         012111746
INSTAGRAM
          1A                              EUTM
          4659777                         8981383
FB
          1A                              EUTM
          4643774                         005722392
FACEBOOK
          1A                              EUTM




                                                                                           35CN001112
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The fame and recognition of the above marks entitle Facebook to broad legal
protection globally.
In order to investigate and prevent intellectual property infringement and contact
infringing parties and relevant service providers, we request information regarding the
following domain name:

         shopinstagramfollowers.com

We seek the following information1 consistent with the principles enumerated under
Section 4 of the Temporary Specification for gTLD Registration Data adopted by
ICANN on May 18, 2018:
    1. Registrant name, address, phone, fax number, and email address
    2. Technical contact name, address, phone, fax number, and email address
    3. Administrative name, address, phone, fax number, and email address
To the extent that the requested information is believed to be subject to the European
Union’s General Data Protection Regulation (Commission Regulation (EU)
2016/679), we submit this request pursuant to Article 6(1)(f) of that Regulation. The
information requested is necessary for the purposes of our legitimate interests,
namely (1) identifying the registered holder of a domain name and their contact
information to investigate and respond to potential trademark infringement and (2)
enforcing legal claims.
We seek this information by Thu Oct 18 04:19:08 GMT 2018 in order to facilitate
immediate legal action against the registrant. Please provide the requested
information by responding to this email. NOTE: Please do not change the CASE in
the subject line.

Facebook (transmitted by AppDetex Managed Services)
1. [Facebook [and its affiliated companies] reserves all of its legal rights in relation to this request and by making this request with respect to the domain name referenced above does not
waive any and all rights it may have to request additional information regarding other domain names registered by the registrant or the contacts reflected in the WHOIS record.]




                                                                                                                                                                                                35CN001113
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Hello,

Anyone can reply to us regards on this issue, we have sent many e-mails to your end.
But no any reply from your end.

Best Regards,


Ben Barnes
OnlineNIC Customer Support
E-mail：ben@onlinenic.com
Website: www.onlinenic.com

From: whoisrequest
Date: 2018-09-06 23:52
To: abuse
Subject: Nonpublic registrant data for TROLLFACEBOOK.COM [CASE: dNtTi9YvvZ]
To OnlineNIC, Inc.
I write on behalf of Facebook [and its affiliated companies] to request a single domain
registration record as identified below.1 We have become aware that the below-
identified domain name misuses one or more of the following trademarks held by
Facebook [and/or its affiliated companies]:
                 US Trademark Reg.        EU Trademark
Trademark
                 #                        Reg. #
OCULUS           4863585                  012983854
RIFT             1A                       EUTM
                 4891157
OCULUS                                    012983854
                 1A
                 4424543                  012983854
OCULUS VR
                 1A                       EUTM
                 4146057                  012111746
INSTAGRAM
                 1A                       EUTM
                 4170675                  012111746
INSTAGRAM
                 1A                       EUTM
                 4659777                  8981383
FB
                 1A                       EUTM
                 4643774                  005722392
FACEBOOK
                 1A                       EUTM
The fame and recognition of the above marks entitle Facebook to broad legal
protection globally.
In order to investigate and prevent intellectual property infringement and contact
infringing parties and relevant service providers, we request information regarding the
following domain name:

     trollfacebook.com

We seek the following information consistent with the principles enumerated under
Section 4 of the Temporary Specification for gTLD Registration Data adopted by
ICANN on May 18, 2018:




                                                                                              35CN001114
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      1. Registrant name, address, phone, fax number, and email address
      2. Technical contact name, address, phone, fax number, and email address
      3. Administrative name, address, phone, fax number, and email address

To the extent that the requested information is believed to be subject to the European
Union’s General Data Protection Regulation (Commission Regulation (EU)
2016/679), we submit this request pursuant to Article 6(1)(f) of that Regulation. The
information requested is necessary for the purposes of our legitimate interests,
namely (1) identifying the registered holder of a domain name and their contact
information to investigate and respond to potential trademark infringement and (2)
enforcing legal claims.
We seek this information by Sat Sep 08 15:52:15 GMT 2018 in order to facilitate
immediate legal action against the registrant. Please provide the requested
information by responding to this email. NOTE: Please do not change the CASE in
the subject line.
Facebook (transmitted by AppDetex Managed Services)
1. [Facebook [and its affiliated companies] reserves all of its legal rights in relation to this request and by making this request with
respect to the domain name referenced above does not waive any and all rights it may have to request additional information
regarding other domain names registered by the registrant or the contacts reflected in the WHOIS record.]




                                                                                                                                           35CN001115
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Dear Sir,

We used to contact your end and tried to discuss on this issue, but always no reply
from your end.

Best Regards,


Ben Barnes
OnlineNIC Customer Support
E-mail：ben@onlinenic.com
Website: www.onlinenic.com

From: whoisrequest
Date: 2019-02-20 11:37
To: abuse
Subject: Nonpublic registrant data for WEB-LNSTARGRARN.COM [CASE: oZwBAVT8zg]
To OnlineNIC, Inc.
I write on behalf of Facebook [and its affiliated companies] to request a single domain
registration record as identified below.1 We have become aware that the below-
identified domain name misuses one or more of the following trademarks held by
Facebook [and/or its affiliated companies]:


          US Trademark Reg.               EU Trademark
Trademark
          #                               Reg. #
          4083272                         009986514
WHATSAPP
          1A                              EUTM
          3939463                         0099865149
WHATSAPP
          1A                              EUTM
OCULUS    4863585                         012983854
RIFT      1A                              EUTM
          4891157
OCULUS                                    012983854
          1A
          4424543                         012983854
OCULUS VR
          1A                              EUTM
          4146057                         012111746
INSTAGRAM
          1A                              EUTM
          4170675                         012111746
INSTAGRAM
          1A                              EUTM
          4659777                         8981383
FB
          1A                              EUTM
          4643774                         005722392
FACEBOOK
          1A                              EUTM

The fame and recognition of the above marks entitle Facebook to broad legal
protection globally.
In order to investigate and prevent intellectual property infringement and contact
infringing parties and relevant service providers, we request information regarding the
following domain name:




                                                                                          35CN001116
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         web-lnstargrarn.com

We seek the following information1 consistent with the principles enumerated under
Section 4 of the Temporary Specification for gTLD Registration Data adopted by
ICANN on May 18, 2018:
    1. Registrant name, address, phone, fax number, and email address
    2. Technical contact name, address, phone, fax number, and email address
    3. Administrative name, address, phone, fax number, and email address
To the extent that the requested information is believed to be subject to the European
Union’s General Data Protection Regulation (Commission Regulation (EU)
2016/679), we submit this request pursuant to Article 6(1)(f) of that Regulation. The
information requested is necessary for the purposes of our legitimate interests,
namely (1) identifying the registered holder of a domain name and their contact
information to investigate and respond to potential trademark infringement and (2)
enforcing legal claims.
We seek this information by Fri Feb 22 03:37:55 GMT 2019 in order to facilitate
immediate legal action against the registrant. Please provide the requested
information by responding to this email. NOTE: Please do not change the CASE in
the subject line.

Facebook (transmitted by AppDetex Managed Services)
1. [Facebook [and its affiliated companies] reserves all of its legal rights in relation to this request and by making this request with respect to the domain name referenced above does not
waive any and all rights it may have to request additional information regarding other domain names registered by the registrant or the contacts reflected in the WHOIS record.]




                                                                                                                                                                                                35CN001117
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We have repied many e-mail address to your end, but always no reply from your end.



Ben Barnes
OnlineNIC Customer Support
E-mail：ben@onlinenic.com
Website: www.onlinenic.com

From: whoisrequest
Date: 2019-01-07 23:39
To: abuse
Subject: Nonpublic registrant data for WWW-INSTAGRAM-LOGIN.COM [CASE: UIMDE0w9a8]
To OnlineNIC, Inc.
I write on behalf of Facebook [and its affiliated companies] to request a single domain
registration record as identified below.1 We have become aware that the below-
identified domain name misuses one or more of the following trademarks held by
Facebook [and/or its affiliated companies]:


          US Trademark Reg.              EU Trademark
Trademark
          #                              Reg. #
          4083272                        009986514
WHATSAPP
          1A                             EUTM
          3939463                        0099865149
WHATSAPP
          1A                             EUTM
OCULUS    4863585                        012983854
RIFT      1A                             EUTM
          4891157
OCULUS                                   012983854
          1A
          4424543                        012983854
OCULUS VR
          1A                             EUTM
          4146057                        012111746
INSTAGRAM
          1A                             EUTM
          4170675                        012111746
INSTAGRAM
          1A                             EUTM
          4659777                        8981383
FB
          1A                             EUTM
          4643774                        005722392
FACEBOOK
          1A                             EUTM

The fame and recognition of the above marks entitle Facebook to broad legal
protection globally.
In order to investigate and prevent intellectual property infringement and contact
infringing parties and relevant service providers, we request information regarding the
following domain name:

    www-instagram-login.com




                                                                                          35CN001118
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We seek the following information1 consistent with the principles enumerated under
Section 4 of the Temporary Specification for gTLD Registration Data adopted by
ICANN on May 18, 2018:
    1. Registrant name, address, phone, fax number, and email address
    2. Technical contact name, address, phone, fax number, and email address
    3. Administrative name, address, phone, fax number, and email address
To the extent that the requested information is believed to be subject to the European
Union’s General Data Protection Regulation (Commission Regulation (EU)
2016/679), we submit this request pursuant to Article 6(1)(f) of that Regulation. The
information requested is necessary for the purposes of our legitimate interests,
namely (1) identifying the registered holder of a domain name and their contact
information to investigate and respond to potential trademark infringement and (2)
enforcing legal claims.
We seek this information by Wed Jan 09 15:39:32 GMT 2019 in order to facilitate
immediate legal action against the registrant. Please provide the requested
information by responding to this email. NOTE: Please do not change the CASE in
the subject line.

Facebook (transmitted by AppDetex Managed Services)
1. [Facebook [and its affiliated companies] reserves all of its legal rights in relation to this request and by making this request with respect to the domain name referenced above does not
waive any and all rights it may have to request additional information regarding other domain names registered by the registrant or the contacts reflected in the WHOIS record.]




                                                                                                                                                                                                35CN001119
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                        Exhibit C
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From:            Steele, David J.
To:              Karl Kronenberger; Leah Vulic; Kroll, Howard A.; Sindelar, Jeffrey C.; Guye, Helena M.;
                 ashok.ramani@davispolk.com; micah.block@davispolk.com; cristina.rincon@davispolk.com; Perry J. Narancic;
                 Lauridsen, Steven E.; Ruben Peña; paralegals; Jeff Rosenfeld; Liana Chen
Subject:         RE: Issues with Notices from Facebook to OnlineNIC/ID Shield
Date:            Monday, May 23, 2022 6:21:46 PM
Attachments:     image001.png
                 image002.png
                 image003.png


Karl,

We are looking at this internally. We need a few days before we’re ready to discuss. We’ll get back
to you shortly.

David




From: Karl Kronenberger <karl@krinternetlaw.com>
Sent: Monday, May 23, 2022 10:36 AM
To: Steele, David J. <David.Steele@tuckerellis.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll,
Howard A. <Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>;
Guye, Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; Perry J. Narancic
<pjn@lexanalytica.com>; Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>; Jeff Rosenfeld
<jeff@krinternetlaw.com>; Liana Chen <liana@krinternetlaw.com>
Subject: RE: Issues with Notices from Facebook to OnlineNIC/ID Shield

<<< EXTERNAL EMAIL >>>



Hello David and Others,

Are you free today at 4:00, or tomorrow at 11:00 or 2:00, to meet and confer about this issue?

To reiterate, we are not locating notices for the 10 domain names below, and the R&R specifically
relied upon the assumption that such notices exist and were sent for all 35 domain names. We may
need to seek an evidentiary hearing very soon. However, we want to discuss this with you first.
Obviously, if the notices do exist (perhaps we overlooked them?), we want to know that before we
bring our request for an evidentiary hearing.

Very best,

Karl


From: Karl Kronenberger
       Case 3:19-cv-07071-SI       Document 238-1         Filed 05/26/22      Page 22 of 31


Sent: Saturday, May 21, 2022 11:31 AM
To: Steele, David J. <David.Steele@tuckerellis.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll,
Howard A. <Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>;
Guye, Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; Perry J. Narancic
<pjn@lexanalytica.com>; Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>; Jeff Rosenfeld
<jeff@krinternetlaw.com>; Liana Chen <liana@krinternetlaw.com>
Subject: RE: Issues with Notices from Facebook to OnlineNIC/ID Shield

Hello David and Others,

Just following up about this.

Very best,

Karl


From: Karl Kronenberger
Sent: Tuesday, May 17, 2022 4:58 PM
To: Steele, David J. <David.Steele@tuckerellis.com>; Leah Vulic <leah@krinternetlaw.com>; Kroll,
Howard A. <Howard.Kroll@tuckerellis.com>; Sindelar, Jeffrey C. <Jeffrey.Sindelar@tuckerellis.com>;
Guye, Helena M. <Helena.Guye@tuckerellis.com>; ashok.ramani@davispolk.com;
micah.block@davispolk.com; cristina.rincon@davispolk.com; Perry J. Narancic
<pjn@lexanalytica.com>; Lauridsen, Steven E. <Steven.Lauridsen@tuckerellis.com>; Ruben Peña
<ruben@krinternetlaw.com>; paralegals <paralegals@krinternetlaw.com>; Jeff Rosenfeld
<jeff@krinternetlaw.com>; Liana Chen <liana@krinternetlaw.com>
Subject: Issues with Notices from Facebook to OnlineNIC/ID Shield

Hello David and Others,

I am writing today because we are having a problem identifying some key documents that are at the
heart of the case, and referred to in many documents filed by Facebook, namely the alleged fax or
email notices, from Facebook to OnlineNIC/ID Shield, relating to the 35 domain names. While we are
continuing to go through Facebook’s prior productions, which were re-produced to 35.CN, we were
either not able to find notices for the below domain names or we found “notices” that (a) were
directed to an unrelated third party (e.g., petaexpress and cloudinnovation) or (b) did not request
registrant identification information.

   1. face2bouk.com
   2. facebook-chat-emoticons.com
   3. facebux2.com
   4. facekhook.com
   5. facessbook.com
   6. faecb00k-page.com
       Case 3:19-cv-07071-SI                      Document 238-1                   Filed 05/26/22                Page 23 of 31


    7. faecbook-page.com
    8. instakram.com
    9. www-facebook-pages.com
   10. www-instagram.net

There is a possibility that we have overlooked notices regarding the above domain names. However,
before we take formal steps, we ask that you would provide the Bates numbers for these notices
informally.

We look forward to hearing back from you.

Very best,

Karl


__________________________________


Karl S. Kronenberger
PARTNER
KRONENBERGER ROSENFELD, LLP
150 Post Street, Ste 520 San Francisco, CA 94108
Phone: (415) 955-1155 Ext. 114

Get vCard LinkedIn   karl@krinternetlaw.com
www.krinternetlaw.com




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marketing or recommending to another party any matters addressed herein (the foregoing paragraph has been affixed pursuant to U.S.
Treasury Regulations governing tax practice).
Case 3:19-cv-07071-SI   Document 238-1   Filed 05/26/22   Page 24 of 31




                        Exhibit D
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                                                         October 21st 2018

       Dear Goran, Cherine and Jamie

        Blacknight is an Irish based hosting provider and ICANN accredited
registrar.
        In our over 15 years of business Blacknight has strived to provide the
tools and services to businesses and individuals to take advantage of the
internet economy.
        We are strong believers in maintaining a secure network and providing
a neutral platform for our clients from around the world. We take our
responsibilities as a service provider very seriously and have invested heavily
in providing a trustworthy suite of services and experiences to our users,
including becoming ISO 27001 certified.
        It was, therefore, incredibly frustrating for us to see recent
communications from AppDetex to ICANN which are obviously an attempt to
undermine the “temp spec” and suggest that registrars are not cooperating
with rights holders or others who may have legitimate reasons for accessing
data.
        As I outlined in a recent blog post (https://blacknight.blog/maintaining-
trust-respecting-privacy-and-due-process.html ), as a responsible provider we
have no interest in facilitating criminal activity on our platforms, but we cannot
simply breach the trust placed in us by our clients. As a service provider, of
both domain registration services and hosting services we are contacted by
law enforcement agencies and other parties who wish to investigate activities
involving clients or users of our services and platform. In order for us to
assess the legitimacy of any request for data we have a set of what we
consider reasonable requirements that allow us to examine the merits of a
request. As a data processor we are legally obliged to handle data in a
manner which is respectful of data subjects and we cannot simply ignore
these obligations in order to pander to 3rd parties’ perceived needs.
        In the case of AppDetex we have received several requests for non-
public whois data. It is abundantly clear to us that the requests we received
were generated by an automated system. That AppDetex or Facebook have a
“legitimate interest” in the term “Instagram”, for example, is not in dispute,
however they cannot claim to have special rights for the string “insta”.
        While we have responded to all of their requests for data to date we
have not received a single acknowledgement or reply
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     Case 3:19-cv-07071-SI          Document 238-1        Filed 05/26/22      Page 29 of 31




                                                                                        2018-10-21
To:
Goran Marby, CEO, ICANN
Cherine Chalaby, Chair, ICANN
Jamie Hedlund, VP Compliance, ICANN

Re: Third Party Requests to Registrant Data



Dear Goran, Cherine, and Jamie:

Tucows would like to address the issues regarding third-party access to data raised by
AppDetex from the perspective of a Registrar. First, we should note that Tucows understands
that there are reasonable and legitimate needs for third parties to gain access to our
Registrants’ data. We have provided Registrant data for over one hundred requests to
numerous third parties where our requirements for disclosure have been met. These
requirements are not an outrageously high bar, indeed, some may argue they are too
permissive. A generic version of our typical data request response has been included as an
appendix to this letter.

We were quite pleased to read in the letter to Goran and Cherine dated October 12th, 2018 that
AppDetex has begun to rework their processes. It has been frustrating for us to operate as their
external quality assurance team, as it’s not typically part of our business strategy to assist other
companies in this manner. AppDetex has submitted (as of this letter) 1273 requests for
Registrant data to Tucows-family registrars. Up until October 9th, 2018, we responded with our
requirements template to all of them and had not received a single reply. The claim in their
letter of contracted party failures to respond in a reasonable time frame is outrageous as they
have failed to further their own requests for months. This alone should be reasonable grounds
for us to ban AppDetex permanently as a vexatious reporter, a course of action we’re
considering.

Digging into some of these requests for Registrant details reveals an alarming lack of care.
Registrant information for domains like “lincolnstainedglass.com” and “grifflnstafford.com” was
requested, presumably because they homographically contain a similarity to a portion of
Facebook’s trademark “instagram”. That no human reviewed these domains was obvious, as
the above examples are not isolated.

Further, literally hundreds of requests were sent multiple times, further burdening our team. In a
number of examples, we even have Registrant data requests being submitted for the same
domain by multiple domain protection services. Some requests for Registrant data also veer
into dangerous territory, where they are for domains like “facebooksucks.org” which is a clear
domain example of fair-use. We would be extremely alarmed to be implicated in a scheme to
limit free speech.
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AppDetex has also not limited themselves to the Registrant data that would have been available
via Whois prior to GDPR. For example requesting reverse lookups, a service for which we have
always required a subpoena. This is not, as they proclaim, a problem. This is, rather,
appropriate due process.

On October 9th, 2018, AppDetex began including some of the information requested in our
template response, including a specific person to whom we could grant access to our Tiered
Access Compliance and Operations portal, which we have created expressly to facilitate the
provision of data when appropriate. This tool supports “tiers” of access for law enforcement,
security researchers, and commercial litigation, each upon a showing of legitimate use.

We are also concerned that, given the clear lack of human-review and due care presented by
the requests we have received from AppDetex, they are simply creating algorithms to identify
potential infringements and demanding personal Registrant data for these potentialities
wholesale. The examples we have noted above—and many others—could have been easily
identified by AppDetex prior to submitting to Tucows if they had included the reason that the
domain was suspected to be infringing, rather than the mere assertion that it “misuses one or
more of the following trademarks” and then listing seven trademarks. We require that requests
for personal data include the reason for the valid request.

AppDetex has yet to demonstrate that they are compliant with the GDPR, specifically Chapter
V, which addresses how to accept transfer of data from the EU. Indeed, AppDetex has no DPO
listed on its website, a glaring lack for an entity intent upon receiving so much data. We are
concerned about sending data outside of the EU without such guarantees in place.

Lastly, we should point out the timing of AppDetex’s letters and process changes. Our first
batch of hundreds of requests arrived just prior to ICANN 62—just in time for AppDetex to make
a presentation to the GAC and the Board, painting Registrars as bad actors. We have waited
literally months for any reply to our requests for assurances and somehow, less than two weeks
before ICANN 63, and a mere three days before AppDetex sent you a letter decrying contracted
parties, we receive responses. That would have been just three days to work through the more
than 1200 long request backlog they created. It is apparent to us that the concern here is not
for the trademarks of Facebook, or any other customer, but for generating baseless noise and
attempting to shift public and government perception of Registrars.




Regards,

Elliot Noss,
CEO, Tucows
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Appendix A: Tucows Generic Data Request Response



To Whom It May Concern at

Thank you for contacting us. We acknowledge receipt of your request for underlying whois data
for the following domain name(s):

       >

In order to maintain compliance with our obligations under the GDPR, before we can respond to
your request, we will require the following:

       1. Your full name and contact details.


       2. A statement, on the letterhead of the party you represent, that you represent them and
       their interests with regard to this request. If you are that party, a statement on your own
       letterhead indicating that the email address used is authoritative with respect to this
       request. If you are a private person acting on your own behalf, a statement of that.


       3. A statement, under penalty of perjury, that the information in your request is accurate.


       4. A statement, under penalty of perjury, that requested data are related to a good-faith
       belief that the rights of you or the party you represent have been violated and the data
       you are requesting is required to further pursue assertion of those rights.


       5. A statement, under penalty of perjury, that the personal data that you receive will be
       processed in a legally-compliant manner at all times, not stored, transferred, or
       otherwise shared without legitimate interest, and deleted as soon as it is no longer
       needed to pursue this assertion of rights.


       6. Your electronic signature.


Sincerely,
the Tucows GDPR Team
